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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



STEWART SMITH, et al.,
                                              Case No. 19–cv–20673–KM–ESK
             Plaintiffs,

      v.
                                            PRETRIAL SCHEDULING ORDER
PRO CUSTOM SOLAR LLC d/b/a
MOMENTUM SOLAR, a New Jersey
limited liability company,

             Defendant.


      THIS MATTER having come before the Court pursuant to Rule 16 of the
Federal Rules of Civil Procedure, and the parties having reviewed the Court’s Civil
Case Management Order and Local Rules, and the parties having filed a joint
submission detailing the parties’ differing positions on the scheduling of discovery
(ECF No. 25); and for good cause shown,


      IT IS on this 5th day of August 2020 ORDERED that:

        1.    A telephone status conference is scheduled for September 15, 2020 at
3:30 p.m. before Magistrate Judge Edward S. Kiel. The parties shall file a joint
letter, at least three business days before the conference advising of the status of
discovery, any pending motions, and any other issues to be addressed.

      2.     Defendant shall file a letter application requesting bifurcation of
discovery by August 14, 2020. Plaintiffs shall file their opposition to the letter
application by August 21, 2020. With the letter application and opposition, the
parties shall include their respective proposed discovery schedules.



                                                 /s/ Edward S. Kiel
                                                EDWARD S. KIEL
                                                UNITED STATES MAGISTRATE JUDGE
